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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                )
                                         )
                    Plaintiff,           )
                                         )
             v.                          )         Case No.      09-CR-043-SPF
                                         )
LINDSEY KENT SPRINGER,                   )
OSCAR AMOS STILLEY,                      )
                                         )
                    Defendants.          )


            UNITED STATES’ MOTION IN OPPOSITION TO
      DEFENDANT SPRINGER’S MOTION TO VACATE ORDER DATED
        DECEMBER 9, 2009, TO REINSTATE DOC. 257 AND 260, AND
         ALTERNATIVELY, FOR ADDITIONAL TIME TO COMPLY

      The United States of America, by and through its attorneys, Thomas Scott

Woodward, Acting United States Attorney for the Northern District of Oklahoma, and

Kenneth P. Snoke, Assistant United States Attorney, and Charles A. O’Reilly, Special

Assistant United States Attorney, hereby responds in opposition to Defendant Springer’s

Motion to Vacate Order Dated December 9, 2009, to Reinstate Doc. 257 and 260, and

Alternatively, for Additional Time to Comply [hereinafter Defendant’s Motion to Vacate
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Order], doc. no. 265.1 The United States stands ready to provide additional briefing

should the Court believe such would be helpful.

       At the close of the government’s case, each Defendant moved for judgment of

acquittal; Defendants renewed their motions at the close of the case. The Court denied

Defendants’ motions for judgment of acquittal. On November 16, 2009, the jury returned

guilty verdicts and, following the return of verdict, was discharged by the Court.

Doc. no. 243. By orders dated November 20 and November 23, respectively, the Court

granted Defendant Springer and Defendant Stilley’s respective motions for extended time

to file motions for acquittal and for new trial. Doc. nos. 250 and 253. Pursuant to the

Court’s orders, these motions were due December 8, 2009.

       As noted in the United States’ Motion to Strike, and in the Court’s order that is the

subject of Defendant Springer’s Motion to Vacate Order, Defendant Springer’s Motion

for Judgment of Acquittal, doc. no. 260, and Reply to Prosecution’s Opposition to

Springer’s Motion to Reconsider, to Dismiss, and for Mistrial, doc. no. 257, each

exceeded the page limitation under the local rules. Defendant Springer’s violation of the

local rules was excessive. As noted in the Court’s order, Defendant Springer’s seventy-

nine page motion for judgment of acquittal violated LCvR 7.2 which provides: “No brief

shall be submitted that is longer than twenty-five (25) typewritten pages without leave of


       1
                Defendant Springer obsesses about the fact that the United States’ Motion to
Strike, doc. no. 259, is unsigned, although he provides no indication as to how this oversight
prejudices him. As indicated by Attachment A, the United States’ motion was accepted as filed,
and the Court Clerk advised the United States that it did not need to file an errata/correction.

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Court . . .. Briefs exceeding fifteen (15) pages in length shall be accompanied by an

indexed table of contents showing headings or sub-headings and an indexed table of

statutes, rules, ordinances, cases and other authorities cited.” In addition to exceeding the

page limitation, Defendant Springer provided no index or table of contents. Defendant

Springer’s fifty-one page reply to the United States seven-page response was more than

five times longer than permitted under the local rules. Under no stretch of the

imagination did Defendant Springer’s filings comply with ND LCR 12.1(B), which

provides that “[a]ll motions and responses thereto must be accompanied by a concise

brief citing all authorities upon which the movant or respondent relies” (emphasis added).

As noted above, these limitations are more specifically detailed in LCvR 7.2.

       Defendant Springer continues to deny that he has violated the rules, only stating

that he “apologizes to the Court for not understanding the Court’s wishes in regard to the

application of Local Criminal Rule 12.1 with Local Criminal Rule 1.2 to that of Local

Civil Rule 7.2.” Doc. no. 265 at 1-2. Defendant Springer failed to timely file a motion

for leave to file a brief in excess of the page limitation. Defendant Springer’s continued

defiance of the rules should not be countenanced. Defendant Springer asserts that his

reply and motion were timely filed; that is not at issue. Defendant Springer willfully

flaunted the local rules, despite having previously been made aware of the rules.

Furthermore, contrary to Defendant Springer’s conclusory assertion, the Court’s Order

does not cause Defendant Springer to lose any right by the Court’s action. Defendant



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Springer is bound by the same rules as all litigants; he has no one to blame but himself for

his failure to comply with those rules. Furthermore, Defendant Springer twice moved for

judgment of acquittal; those motions were denied by this Court.

       The United States therefore requests that the Court deny Defendant Springer’s

Motion to Vacate Order (Docket no. 265).

                                          Respectfully submitted,

                                          THOMAS SCOTT WOODWARD
                                          ACTING UNITED STATES ATTORNEY


                                             /s/ Charles A. O’Reilly
                                          CHARLES A. O’REILLY, CBA NO. 160980
                                          Special Assistant United States Attorney
                                          KENNETH P. SNOKE, OBA NO. 8437
                                          110 West Seventh Street, Suite 300
                                          Tulsa, Oklahoma 74119
                                          (918) 382-2700




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                            CERTIFICATE OF SERVICE

       I hereby certify that on the 11th day of December 2009, I electronically transmitted
the foregoing document to the Clerk of Court using the ECF System for filing and
transmittal of a Notice of Electronic Filing to the following ECF registrants:

       Lindsey Kent Springer
       Defendant

       Oscar Amos Stilley
       Defendant

       Robert Williams
       Standby Counsel assigned to Lindsey Kent Springer

       Charles Robert Burton, IV
       Standby Counsel assigned to Oscar Amos Stilley.




                                             /s/ Charles A. O’Reilly
                                          Charles A. O’Reilly
                                          Special Assistant United States Attorney




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                       Plaintiff,       )
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              v.                        )         Case No.     09-CR-043-SPF
                                        )
LINDSEY KENT SPRINGER,                  )
OSCAR AMOS STILLEY,                     )
                                        )
                       Defendants.      )


                                      ORDER

       Defendant Springer’s Motion to Vacate Order Dated December 9, 2009, to

Reinstate Doc. 257 and 260, and Alternatively, for Additional Time to Comply (Docket

No. 265), is denied.

       DATED




                                       STEPHEN P. FRIOT
                                       UNITED STATES DISTRICT JUDGE
